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                    UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF VERMONT
__________________________________________
                                           )
In re:                                     )
                                           )
                            1
SPRINGFIELD HOSPITAL, INC.                 ) Chapter 11
                                           ) Case No. 19-______
                  Debtor.                  )
__________________________________________)

    EMERGENCY MOTION FOR AUTHORITY TO PAY PRE-PETITION WAGES, TO
    MAINTAIN EXISTING INSURANCE COVERAGE, AND FOR RELATED RELIEF

         Springfield Hospital, Inc. (“Springfield” or the “Debtor”) requests that the Court enter an

order authorizing payment of pre-petition wages, salaries, and related payroll obligations; payment

and maintenance of employee benefit programs, including related insurance policies; and for

related relief. Payment to Debtor’s employees of wages and other benefits in the ordinary course

is necessary to ensure the Debtor’s continuing business operations and the success of this

reorganization. The Debtor would suffer irreparable harm if this Motion is not granted.

         The Debtor provided the United States Trustee (the “UST”) with a copy of this Motion

prior to its filing.

                                      JURISDICTION AND VENUE

         1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

         2.       The statutory bases for relief are §§ 105(a), 363(b), 364, 503(b), 507, 1107, and

1108 of title 11 of the United States Code (the “Bankruptcy Code”).




1
         The last four digits of the taxpayer identification number of Springfield Hospital, Inc., are 9437. 11 U.S.C.
§ 342(c)(1).

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                                        BACKGROUND

I.       This Chapter 11 Case

         3.    On June 26, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. The Debtor continues to operate its business and

manage its property as a debtor-in-possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy

Code. No request for the appointment of a trustee or examiner has been made, and no committee

has been appointed or designated.

         4.    A description of the Debtor, its business, and the facts and circumstances

supporting this Motion and the reason for commencing this case are set forth in greater detail in

the Declaration Of Michael Halstead In Support Of Springfield Hospital, Inc.’s Chapter 11

Petition And First Day Motions (the “Halstead Declaration”).

         5.    The Halstead Declaration was filed with this Motion and is incorporated by

reference herein. Capitalized terms not defined in this Motion shall have the meaning ascribed to

them in the Halstead Declaration.

         6.    The following paragraphs of the Halstead Declaration directly support the factual

allegations contained in this Motion: 11, 50, 61-66, 78.

II.      Facts Related To This Motion

         A.    The Debtor’s Workforce

         7.    The Debtor has approximately 355 employees and approximately 272 full-time

equivalent positions. Halstead Declaration, ¶ 66. These employees include: physicians, physician

assistants, and nurse practitioners; nurses, certified nursing assistants, and other medical staff;

speech, physical, and occupational therapists; and other employees, including administrative staff

(collectively, the “Employees”). Halstead Declaration, ¶ 66. Some of the Employees are full-



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time, others work part-time and are regularly scheduled, and some work on a per diem or “as

needed” basis. Halstead Declaration, ¶ 66.

       8.      As a medical facility, the Debtor’s operations require skilled, carefully trained, and

often highly educated employees to maintain the requisite levels of medical care and other services

provided to patients. Halstead Declaration, ¶¶ 63, 66. The services of these Employees are needed

to ensure that Springfield can deliver high quality medical care to patients. Halstead Declaration,

¶¶ 63, 66.

       9.      Given the Debtor’s location, it expends significant effort training and retaining

current employees, as well as recruiting physicians, nurses, and other medical professionals.

Halstead Declaration, ¶¶ 63, 66. If such employees were to terminate their employment with

Springfield—because, for example, they are not promptly paid and their benefits programs are not

maintained—it would be difficult to find replacement employees. Halstead Declaration, ¶¶ 63,

66. This could jeopardize patient health and Springfield’s reorganization. Halstead Declaration,

¶¶ 63, 66. Thus the Employees’ skills, knowledge, and understanding of Springfield’s business

and operations are essential to the effective operation of Springfield’s business and to a successful

reorganization of that business in a fashion that maximizes the return to creditors and other parties-

in-interest while also allowing the Debtor to continue its non-profit mission of delivering high-

quality health care to the people of the region. Halstead Declaration, ¶¶ 63, 66.

       10.     Not only does the Debtor depend on its Employees, but they also depend on

Springfield too for wages and related benefits as well as health care. Moreover, many of

Employees rely exclusively on payments from Springfield for their basic living necessities.




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        B.       Pre-Petition Wages And Related Payments

        11.      The Debtor pays its Employees 26 times per calendar year. Halstead Declaration,

¶ 66. All Employees are paid every other Thursday for the two weeks ending the previous Saturday

at 11:59 p.m. Halstead Declaration, ¶ 66.

        12.      The Debtor commenced this case on June 26, 2019, a Wednesday. The Debtor last

paid payroll to Employees on June 20, 2019, for the pay period ending June 15, 2019, at 11:59

p.m. Halstead Declaration, ¶ 66. The next regularly scheduled payroll date is July 3, 2019.2

Halstead Declaration, ¶ 66. While most Employees receive payment by electronic transfer for

payroll and expense reimbursements, two Employees are paid by check, and such checks may be

outstanding as of the Petition Date. Halstead Declaration, ¶ 66.

        13.      On July 3, 2019, the Employees are due to receive payroll transfers, payroll checks,

and related expense reimbursement checks for the period from and after June 16, 2019, at 12 a.m.,

through and including June 29, 2019, at 11:59 p.m. (the “Payroll Period”), which includes payment

for the pre-petition time period of June 16, 2019, at 12 a.m., through and including the time that

the Debtor filed its petition on the Petition Date (the “Pre-Petition Period”). Halstead Declaration,

¶ 66.

        14.      The Debtor estimates that the net payroll to Employees issued on July 3 will be in

the approximate amount of $560,000.00, which is the typical payroll amount for the Debtor.

Halstead Declaration, ¶ 66. Of this total amount, about $400,000.00 will be attributable to claims

arising from the Pre-Petition Period. Halstead Declaration, ¶¶ 62, 66. The following day, the

Debtor expects to pay approximately $250,000.00 in payroll taxes for the Payroll Period, which




2
        Payroll is ordinarily run on Thursdays, but that day is a holiday the week of July 1.

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includes the employer- and employee-paid portions of payroll taxes. Of this total amount, about

$179,000.00 is attributable to the Pre-Petition Period. Halstead Declaration, ¶¶ 62, 66.

        15.      Attached to this Motion as Exhibit A is a spreadsheet containing a projection of

the gross amount to be paid to each of Springfield’s employees for services provided during the

Pre-Petition Period (see column B of Exhibit A). Halstead Declaration, ¶ 66. The amounts in

column B are projected compensation amounts for actual services performed by the Employees

during the Pre-Petition Period.3 Halstead Declaration, ¶ 66. This amount does not include any

employer-paid contributions for other benefits, such as medical, disability, or retirement programs.

Halstead, ¶ 66. These programs are discussed below. The amount in column B does include

employee-paid withholdings, including employment taxes. Halstead Declaration, ¶ 66.

        16.      The Debtor requests authority to pay Employees payroll for the Pre-Petition Period,

as reflected in column B of Exhibit A, when and as it ordinarily would do so on the next payroll

date during the week commencing July 1. No Employee will receive more than $13,650.00 for

payroll attributable to the Pre-Petition Period.4 See 11 U.S.C. § 507(a)(4).

        17.      In connection with processing payroll, the Debtor regularly withholds from

Employee’s wages certain amounts that Springfield is required to transmit to third parties such as

for Social Security and Medicare, federal and state income taxes, contributions to the Debtor’s

benefits plans, retirement plan contributions, garnishments, child support or other similar

obligations pursuant to court order or law (collectively, the “Withholding Obligations”). Halstead

Declaration, ¶ 66.




3
          Due to the timing of the Debtor’s chapter 11 filing, it was not possible to provide actual amounts with the
filing of this Motion. These projections are based upon the June 1 payroll.
4
          Pre-petition payroll for Employees with employee identification numbers of 01942, 02412, and 02595 may
exceed $13,650.00. The Debtor will cap the payments made to these Employees at that amount if actual payroll
amounts require, except as may otherwise be ordered by the Court.

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       18.     The Debtor also seeks authority to transmit all funds required under the

Withholding Obligations in the ordinary course of business. These funds may not constitute

property of Springfield’s estate.

       C.      Business Expense Reimbursements

       19.     The Debtor customarily reimburses Employees who incur business expenses in the

ordinary course of performing their duties on behalf of the Debtor. Halstead Declaration, ¶ 66.

These expenses typically include, but are not limited to, mileage, department expenses, travel

expenses, and the like (“Reimbursement Obligations”). Halstead Declaration, ¶ 66. Expense

reports detailing the Reimbursement Obligations must be submitted by the Employees and

generally must be supported by copies of receipts. Halstead Declaration, ¶ 66.

       20.     While it is difficult for the Debtor to determine the exact amount of Reimbursement

Obligations outstanding as of the Petition date, as they vary from month to month, the Debtor seeks

permission to honor any usual and customary pre-petition Reimbursement Obligations in the

ordinary course of business.

       D.      Paid Time Off

       21.     The Debtor provides its full- and part-time Employees with paid time off (“PTO”).5

PTO is available for holidays, personal days, or sick days. Halstead Declaration, ¶ 66. PTO forms

an integral part of the Debtor’s employment package. Halstead Declaration, ¶ 66. Failure to

provide these benefits would likely harm morale and prompt the premature departure of some

valued Employees, thereby jeopardizing Springfield’s reorganization efforts.              Halstead

Declaration, ¶¶ 63-64.




5
       Per diem Employees are not eligible for PTO.

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         22.      The amount of paid time off for each of the Employees is listed in column C of

Exhibit A. Halstead Declaration, ¶ 66. Column D in Exhibit A contains the sum of outstanding

pre-petition payroll for the Pre-Petition Period and the amount of PTO for each of the Debtor’s

Employees. Halstead Declaration, ¶ 66.

         23.      The Debtor requests authority to honor all PTO obligations by allowing Employees

to use accrued PTO when and as it is available in the ordinary course of business. The Debtor is

not seeking permission to “cash out” any accrued and unused PTO of continuing Employees but

does seek authority, in its business judgment, to pay Employees for unused vacation time that

accrued within the 180 days prior to the Petition Date when such Employee’s service with the

Debtor is terminated, provided that the total of such payments plus the payments already made to

the Employee on account of payroll for the Pre-Petition Period does not exceed $13,650.00.6

         E.       Overview Of Employee Benefits

         24.      As discussed in the Halstead Declaration, the Debtor delivers health care as part of

a system in conjunction with Springfield Medical Care Systems, Inc. (“SMCS”), the sole Class B

and only voting member of the Debtor. Halstead Declaration, ¶ 4. In the ordinary course of

business, the Debtor’s Employees participate in various benefit plans provided by SMCS on behalf

of all employees of the Debtor and SMCS (collectively, the “System Employees”). Halstead

Declaration, ¶ 66. This includes approximately employees of SMCS (the “SMCS Employees”).

Halstead Declaration, ¶ 66.

         25.      Attached to this Motion as Exhibit B is a document providing summary

information with respect to the System’s Employee Benefits. Halstead Declaration, ¶ 66. Attached


6
        Relief similar to what is requested in this paragraph has been granted in other health care cases. E.g., In re
Astria Health, Case No. 19-01189-11, Docket Entry 83 (Bankr. E.D. Wash. May 9, 2019); In re Verity Health System,
Case No. 2:16-bk-17463-ER, Docket Entry 612 (Bankr. C.D. Calif. Oct. 22, 2018); In re Gardens Regional Hospital
And Medical Center Inc., Case No. 2:16-bk-17463-ER, Docket Entry 68 (Bankr. C.D. Calif. June 10, 2016).

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to this Motion as Exhibit C is a document providing System Employee (and some employer)

contributions and rates. Halstead Declaration, ¶ 66. The Debtor seeks authority to continue all

such programs in the ordinary course of business and to make all required employer-paid

contributions described on Exhibit C.

        26.      The continued provision of these benefits is essential to post-petition retention and

morale of the Employees. Halstead Declaration, ¶¶ 63, 64, 66. If the Debtor reduces or eliminates

these benefits, the Debtor believes that the likelihood of losing Employees increases. Halstead

Declaration, ¶¶ 63, 66.

        27.      Prior to the Petition Date, the Debtor paid all employer contributions for System

Employees under the System's various employee benefits plans except for 401(k) and vision

programs for SMCS Employees. Halstead Declaration, ¶ 66. Subject to the Court’s approval, this

payment structure will remain in place post-petition until such time as the liabilities of SMCS for

the benefits can be transitioned to SMCS.              Thus the Debtor seeks authority to continue these

payments post-petition and understands that SMCS will record a liability to the Debtor in the

amounts actually paid in accordance with the ratio of the Debtor’s Employees to SMCS Employees

(57% to 43%) as compared to the total number of System Employees. The Debtor reserves the

right to seek to characterize any claim it may have against SMCS arising from payment of these

expenses as an administrative expense claim against SMCS’s estate, pursuant to § 503(b)(1) of the

Bankruptcy Code.7 The Debtor understands that SMCS reserves the right to oppose such claims.

                 (i)      Medical Coverage (Health Plan and Pharmacy Benefits)

        28.      Full- and part-time Employees are eligible to obtain medical coverage through a

self-funded health program (the “Health Plan”) offering two different programs, a “PPO Medical


7
         To the extent necessary, § 364 provides a basis for authorizing these intercompany transactions as loans and
granting the Debtor an administrative expense claim.

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Plan” and a “HSA Medical Plan.” Halstead Declaration, ¶ 66. Each requires bi-weekly premiums

paid by System Employees in the amounts set forth in Exhibit C. Halstead Declaration, ¶ 66.

         29.      SMCS is the plan sponsor and plan administrator of the Health Plan. Halstead

Declaration, ¶ 66. The contract administrator—the party processing claims—is Comprehensive

Benefits Administrator, Inc. d/b/a CBA Blue, a licensee of the Blue Cross and Blue Shield

Association (“CBA Blue”). Halstead Declaration, ¶ 66. In the ordinary course of business, CBA

Blue receives claims submitted by employees or their health providers, reviews those claims for

payment under the terms of the Health Plan, and then provides the System with weekly reports of

claims for payment. Halstead Declaration, ¶ 66. The System has a shared human resources

department, which then reviews the claims prior to sending them to accounts payable for payment.

Halstead Declaration, ¶ 66.

         30.      As of the Petition Date, known unpaid pre-petition claims under the Health Plan

totaled $507,084.33, of which $289,038.07 is attributable to the Debtor’s Employees (the “SH

Health Claims”) and $218,046.26 is attributable to SMCS Employees (the “SMCS Health Claims”

and together with SH Health Claims, “All Health Claims”).8 Halstead Declaration, ¶ 66.

         31.      Prescription Drug Coverage is managed by a ProAct, which serves as a third-party

administrator (“Pharmacy Plan”). Halstead Declaration, ¶ 66. As of the Petition Date, known

unpaid pre-petition claims under program (“Prescription Claims”) totaled $642,306.88, of which

$366,114.92 is attributable to the Debtor’s Employees (“SH RX Claims”) and $276,191.96 is

attributable to SMCS Employees (the “SMCS RX Claims”) based on a 57%-to-43%

apportionment. Halstead Declaration, ¶ 66.




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          There is a 193-day lag between the date a claim is incurred, and the date it is finally reported and paid. There
are likely outstanding claims in an amount that is not known.

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         32.      The Debtor seeks permission to pay the SH Health Claims and any SH RX Claims

in the ordinary course of business. Doing so would not result in payment of any amounts in excess

of what is authorized under § 507(a)(5) of the Bankruptcy Code.

         33.      As Employees or their medical providers submit additional medical claims and

additional SH RX Claims, the Debtor seeks permission to pay those claims, whether pre- or post-

petition, in the ordinary course of business.

         34.      As discussed above, pre-petition, the Debtor paid the employer contribution for

certain employee benefits for all System Employees.                      The largest portion of this was for

contributions for health and pharmacy claims. Halstead Declaration, ¶ 66. The Debtor seeks

specific authority to continue these payments post-petition and to pay for the SMCS Health Claims,

SMCS RX Claims, and any post-petition claims that may arise for SMCS Employees, subject to

the understanding that SMCS will record a liability equal to 43% of the total amount of payments

made on account of all Health Claims and Prescription Claims and the reservations of rights

discussed herein.

         35.      The maximum amount available under § 507(a)(5) of the Bankruptcy Code for

payment of SH Health Claims is likely $2,480,969.00.9 The same amount is likely available for

payment of SH RX Claims. The proposed disbursements for SH Health Claims and SH RX Claims

are less than the amounts allowed under § 507(a)(5) of the Bankruptcy Code, even when

considering proposed disbursements for other employee benefit plans.


9
          The maximum priority amount for All Health Claims for both companies is likely $4,941,300.00, based on
the total number of employees covered by the plan (362) multiplied by $13,650.00. When the 57-to-43% split is
applied, the maximum amount the Debtor could be required to pay for SH Health Claims is $2,816,541.00. Sticking
with percentages, about 58% of the Debtor’s Employees participate in the Health Plan, and 58% of the pre-petition
payroll and payroll taxes that the Debtor proposes to pay totals $335,572.00 ($578,573.00 x 58% = $335,572.00).
When that amount is subtracted from $2,816,541.00, it means that the maximum amount available to pay SH Health
Claims is likely $2,480,969.00. There are the same number of participants in the Pharmacy Plan, which is subject to
the same limitations. The Debtor reserves all rights in the event that these priority limits become relevant later in the
case.

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       36.     The System also maintains “stop loss” coverage through Voya Financial (“Voya”)

to provide insurance to the System in the event of catastrophic health claims of employees (“Stop

Loss Coverage”). Halstead Declaration, ¶ 66. The annual amount to be paid for this coverage is

$618,681.00, with monthly premiums paid in advance of the month for which Stop Loss Coverage

is provided. Halstead Declaration, ¶ 66. SH seeks authority, in its discretion, to make any post-

petition payments required to maintain Stop-Loss Coverage post-petition. This includes a post-

petition payment on July 1 in the amount of $59,359.36 for post-petition coverage in July. A

failure to do so could leave the Debtor’s estate uninsured if Employees have catastrophic health

claims post-petition. Halstead Declaration, ¶ 66.

               (ii)   Vision And Dental Insurance

       37.     Full- and part-time Employees are eligible to obtain vision and dental coverage

through plans provided by SMCS to System Employees. Halstead Declaration, ¶ 66.

       38.     Vision insurance is available to eligible System Employees through VSP, and

dental insurance is available to eligible System Employees through Northeast Delta Dental.

Halstead Declaration, ¶ 66. The amount of employee-paid premiums is described in Exhibit C

and is included in the Withholding Obligations discussed above. Halstead Declaration, ¶ 66.

       39.     As of the Petition Date, total unpaid employer- and employee-paid contributions

for vision insurance for System Employees was $4,616.67, of which $2,631.50 is attributable to

SH Employees. Halstead Declaration, ¶ 66. Pre-petition, SMCS paid for this benefit for SMCS

Employees. Halstead Declaration, ¶ 66. As of the Petition Date, total unpaid employer- and

employee-paid contributions for dental insurance was $8,777.00, of which about $5,003.00 is

attributable to SH Employees. Halstead Declaration, ¶ 66. SH seeks authority to pay the

employer-paid amounts under these two plans in the ordinary course of business. To the extent



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that the Debtor has historically funded these obligations for SMCS Employees, the Debtor seeks

to maintain the historical payment structure until such time as the obligations can be transitioned

to the Debtor. Employee-paid portions of these premiums are included in the Withholding

Obligations.

               (iii)   COBRA

       40.     The Debtor also seeks to continue to perform any obligations it may have under

Section 4980B of the Internal Revenue Code to administer Continuation Health Coverage

(“COBRA”) (see 26 U.S.C. § 4980B) with respect to any former employees. SH believes that pre-

petition costs related to COBRA coverage are de minimis, but, nevertheless, to maintain Employee

morale and to ensure the orderly administrative of the Debtor’s estate, the Debtor requests

authority, in its discretion, to pay such pre-petition costs. Halstead Declaration, ¶ 66.

               (iv)    Employee Life, Disability, And Workers’ Compensation Benefits

       41.     Life Insurance. The System also offers Employees premium-based group life and

accidental death and disability insurance (the “Life Insurance”) through Cigna.             Halstead

Declaration, ¶ 66. Basic Life Insurance is entirely employer-paid (“Basic Life Insurance”).

Halstead Declaration, ¶ 66. System Employees can choose to pay for expanded coverage

(“Expanded Life Insurance”). Halstead Declaration, ¶ 66. As of the Petition Date, the total unpaid

amount for Basic Life Insurance attributable to System Employees, as well as other benefits

described in the next two paragraphs, is $40,834.03. Halstead Declaration, ¶ 66. The portion

attributable to the Debtor’s Employees is $23,275.40, and the portion attributable to SMCS

Employees is $17,558.63, again on a 57%-to-43% split. Halstead Declaration, ¶ 66. The Debtor

seeks authority to pay the amount attributable to its Employees. Employee contributions for




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Expanded Life Insurance, which is an employee-paid benefit, are included in the Withholding

Obligations.

         42.   Short-Term Disability Insurance. All System Employees may purchase short-

term disability insurance provided by Cigna (the “Short-Term Disability Insurance”). Halstead

Declaration, ¶ 66. In light of the fact that Cigna provides this coverage, any amounts due for the

employer-paid portion of this benefit are included in the totals in the immediately prior paragraph.

Halstead Declaration, ¶ 66. The Debtor seeks authority to pay the employer-paid portion for Short-

Term Disability Insurance. Authority to transfer funds of the Debtor’s Employees to pay for Short-

Term Disability Insurance is included in the request regarding Withholding Obligations discussed

above.

         43.   Long-Term Disability Insurance. System Employees may obtain long-term

disability insurance provided through Cigna (“Long-Term Disability Insurance”).            Halstead

Declaration, ¶ 66. This benefit is employer-paid and any outstanding amounts are also included

in the total due to Cigna above. Halstead Declaration, ¶ 66. The Debtor seeks authority to continue

to make any required payments to maintain this program.

         44.   Workers’ Compensation.          System Employees are provided with workers’

compensation insurance through A.I.M. Mutual Insurance Companies and NFP Property &

Casualty Services, Inc. (“AIM”), a fully-insured program (“Workers’ Compensation Insurance”).

Halstead Declaration, ¶ 66. The amount of the annual premium payment is approximately

$250,597.00, which is paid monthly. There are no unpaid premiums due as of the Petition Date.

Halstead Declaration, ¶ 66. To the extent necessary, the Debtor seeks authority to continue to pay

any portion of the premium attributable to its Employees. The next payment is due on or about

July 1 for coverage in the month of July. This payment is in the approximate about of $25,059.00.



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               (v)     401(k) Retirement Plan

       45.     Eligible System Employees are able to participate in a retirement plan with AIG-

Valic pursuant to § 401(k) of title 26 of the United States Code (the “Retirement Plan”). Halstead

Declaration, ¶ 66. Through automatic payroll deductions, Employees can contribute to the

Retirement Plan and receive matching contributions equal to 50% of the amount contributed by

Employees—up to the first 4% of each Employee’s salary. Halstead Declaration, ¶ 66. The Debtor

estimates that the unpaid pre-petition employer contributions for the Debtor’s Employees to be

$6,541.07. Halstead Declaration, ¶ 66.

       46.     The Retirement Plan is an integral part of the employment package for Employees,

and a failure to maintain this program could result in the premature departure of valued Employees.

Halstead Declaration, ¶¶ 64, 66. Therefore, the Debtor requests authority to honor its obligations

and to transfer any amounts that it may be holding in trust for Employees on account of

contributions to the Retirement Plan, including pre-petition amounts, as well as employer-paid

contributions in the ordinary course of business.

               (vi)    Pension Plan

       47.     The Debtor maintains a defined-benefit pension plan named the “Springfield

Hospital Pension Plan” (the “Pension Plan”).         Halstead Declaration, ¶ 66.   There are 201

participants in the Pension Plan who are currently receiving benefits, and there are approximately

166 Employees who may be eligible for benefits under the Pension Plan upon retirement. Halstead

Declaration, ¶ 66. No new employees were eligible to enter the Pension Plan after February 28,

2006. Halstead Declaration, ¶ 66. Pursuant to a valuation of the Pension Plan as of October 1,

2018, the minimum required contribution for the 2018-19 plan year was $31,251.00—or slightly

more if paid at a later time. Halstead Declaration, ¶ 66.



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       48.     The Debtor seeks authority to maintain the Pension Plan and perform its obligations

thereunder in the ordinary course of business. The Debtor seeks the authority, within its discretion,

to make the payment described in the prior paragraph.

               (vii)   457 Plan

       49.     There are eight current or former System Employees who participate in a 457

retirement plan that allows certain eligible System Employees to devote a portion of their

compensation to savings for retirement (the “457 Plan”). Halstead Declaration, ¶ 66. Three of

these participants are Employees of the Debtor. Halstead Declaration, ¶ 66. There are no

employer-paid contributions to this program. Halstead Declaration, ¶ 66. SMCS is the sponsor

and administrator of the 457 Plan. Halstead Declaration, ¶ 66. The 457 Plan is managed by NFP

Executive Benefits. Halstead Declaration, ¶ 66. NFP Executive Benefits manages accounts under

the 457 Plan for participating System Employees. Halstead Declaration, ¶ 66. The funds are not

located in deposit accounts of the Debtor. Halstead Declaration, ¶ 66.

               (viii) Flexible Spending and Health Savings Accounts

       50.     Employees who choose the HSA Plan under the Health Plan are eligible to receive

employer-paid contributions to a health savings account (“HSA”) managed by Health Equity in

the following amounts: $1,000.00 for an employee only plan, $1,500.00 for an employee/spouse

or employee/child(ren) plan, and $2,000.00 for a family plan. Halstead Declaration, ¶ 66.

Employees may also make their own contributions to a HSA, which are included in the

Withholding Obligations discussed above. Halstead Declaration, ¶ 66. The Debtor estimates that

the employer contribution for all System Employees for May and June is approximately

$13,400.00has, with about $7,600.00 attributable to the Debtor’s Employees.                Halstead

Declaration, ¶ 66. Employee portions are included in the Withholding Obligations.



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       51.    Eligible Employees may also establish and fund flexible spending accounts

(“FSAs”) with IPG Flex to be used to fund certain health care- and dependent care-related

expenses. Halstead Declaration, ¶ 66. IPG Flex serves as a third party administrator of the FSAs,

keeps track of employee FSA account balances, and administers all payments of Employee claims

made against the FSAs. Halstead Declaration, ¶ 66.

       52.    FSAs are funded entirely with Employee funds included in the Withholding

Obligations described above. Halstead Declaration, ¶ 66. These Employee funds are held in a

“sweep” bank account of the Debtor maintained at People’s United Bank with an account number

ending in the last four digits of 6214 (the “Sweep Account”). Halstead Declaration, ¶ 66. Other

types of funds, including patient payments and other miscellaneous payments, are also “swept”

into the Sweep Account automatically. Halstead Declaration, ¶ 66. Disbursements are made on

account of claims submitted to FSAs from an account at People’s United Bank with an account

number ending in the last four digits of 2450 (the “Master FSA Account”). Halstead Declaration,

¶ 66. Funds from the Sweep Account automatically transfer to the Master FSA Account as needed

to fund disbursements of allowed claims presented on account of FSAs. Halstead Declaration, ¶

66. Employees may access funds in their respective FSAs by using, among other things, debit

cards that request payment of claims from the FSAs. Halstead Declaration, ¶ 66.

              (ix)    Miscellaneous Employee Benefits

       53.    The Debtor also offers its eligible Employees the opportunity to participate in

numerous other programs and plans described more fully in Exhibit B, including supplemental

benefit plans with Aflac, an employee assistance plan with UniCare EAP, and employee wellness

programs. Halstead Declaration, ¶ 66.




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        54.     To the extent that the Debtor has any payment obligations under any such plans,

they are de minimis, and the Debtor seeks permission to pay pre-petition amounts that may be

outstanding. Halstead Declaration, ¶ 66.

        F.      Temporary Staffing

        55.     In addition to full-time, part-time, and per diem Employees, the System also relies

upon staffing and contract agencies (“Contract Agencies”) and certain independent contractor

health care providers for certain staffing needs on an as needed basis when the System, or

Springfield or SMCS, are unable to staff a position with regular staff or when services can be

provided more cost-effectively this way. Halstead Declaration, ¶ 66.

        56.     The Debtor intends to continue its practice of using Contract Agencies post-petition

as needed and believes that it has authority to do so under § 363(c) of the Bankruptcy Code.

                                       RELIEF REQUESTED

        57.     Pursuant to §§ 105, 363(c), 364, 503(b), 507, 1107, and 1108 of the Bankruptcy

Code, the Debtor seeks authority, in its sole discretion, to maintain the programs described above

and to honor any obligations that it may have under these programs as they come due, including

any pre-petition expenses related to them. More specifically, the Debtor seeks authority, but not

the obligation, in its discretion:

                A.      To honor and pay all unpaid amounts for wages arising from the Pre-

        Petition Period;

                B.      To honor and pay all accrued and unpaid pre-petition Withholding

        Obligations;

                C.      To honor and pay all pre-petition Reimbursement Obligations, in the

        ordinary course of business;



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          D.      To honor and pay PTO obligations that accrued pre-petition, allowing

   Employees to utilize PTO post-petition in the ordinary course of the Debtor’s business—

   but limiting “pay outs” to the amount permitted under § 507(a)(4) of the Bankruptcy Code;

          E.      To maintain the Health Plan, to the extent it is the Debtor’s responsibility;

          F.      To honor and pay SH Health Claims and SH RX Claims in the ordinary

   course of business;

          G.      To honor and pay unknown pre-petition health claims of Employees, once

   they are known, in the ordinary course of business;

          H.      To honor and pay all post-petition health claims of Employees under the

   Health Plan and, to the extent not included therein, the Pharmacy Plan;

          I.      To honor and pay all pre- and post-petition SMCS Health Claims and SMCS

   RX Claims, as well as any other employer contributions historically paid by the Debtor for

   SMCS Employees, subject to a reservation of rights with respect to the characterization of

   any claim that the Debtor may have against SMCS in SMCS’s chapter 11 case with respect

   to these payments and with SMCS reserving the right to oppose such claims;

          J.      To maintain Stop Loss Coverage in the ordinary course of business;

          K.      To honor and pay any pre-petition obligations that the Debtor may have for

   its Employees with respect to vision insurance provided by VSP;

          L.      To honor and pay any pre-petition obligations that the Debtor may have for

   its Employees with respect to dental insurance provided by Northeast Delta Dental;

          M.      To honor and pay any pre-petition obligations that the Debtor may have

   under COBRA;




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              N.      To honor and pay any obligations the Debtor may have to provide Life

       Insurance, including payments to Cigna;

              O.      To honor and pay any obligations the Debtor may have to provide Short-

       Term Disability Insurance, including payments to Cigna;

              P.      To honor and pay any obligations the Debtor may have to provide Long-

       Term Disability Insurance, including payments to Cigna;

              Q.      To honor and pay any obligations the Debtor may have to provide Workers’

       Compensation Insurance;

              R.      To honor and pay any obligations that the Debtor may have with respect to

       its Employees to make employer contributions to the Retirement Plan;

              S.      To the extent of the Debtor’s obligations, to maintain the Retirement Plan;

              T.      To honor and pay any obligations that the Debtor may have with respect to

       the Pension Plan;

              U.      To the extent of the Debtor’s obligations, to maintain the Pension Plan;

              V.      To the extent of the Debtor’s obligations, to maintain the 457 Plan;

              W.      To honor and pay any employer contributions required under the HSA; and

              X.      To maintain any and all employee benefits plans described in Exhibit B and

       not discussed herein.

       58.    The Debtor would suffer irreparable harm if the relief requested in this Motion is

not granted. Halstead Declaration, ¶¶ 55-61.




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                     RELIEF REQUESTED AND BASIS FOR RELIEF

        59.    Pursuant to § 507(a)(4)(A) of the Bankruptcy Code, claims for “wages, salaries, or

commissions, including vacation, severance, and sick leave pay” earned within 180 days before

the Petition Date are afforded priority unsecured status.

        60.    Similarly, § 507(a)(5) of the Bankruptcy Code provides that claims for

contributions to an employee benefit plan also are afforded priority unsecured status.

        61.    As priority claims, these two types of claims must be paid in full before any general

unsecured claims.

        62.    Accordingly, the relief requested in this Motion will generally affect the timing but

not the obligation to pay these claims and will not prejudice the rights of any general unsecured

creditor.

        63.    As a health care business, the Debtor has many highly-skilled and highly-paid

Employees—in particular, certain medical providers. Given the location of the Debtor’s business

and the now widely-known nature of its finances, replacing these Employees would be difficult,

and the consequences of their departure to patients and going concern value would be significant.

In the Debtor’s business judgment, the benefits of paying any of these claims far outweighs any

adverse impact the departure of Employees could have on Springfield’s reorganization efforts.

        64.    In summary, it is in the best interest of the Debtor’s estate that the Court grant this

Motion because the Employees are highly-trained, necessary for the operation of the Debtor’s

business, and, a valuable and irreplaceable asset without which the going-concern value of the

Debtor and its estate would be substantially diminished. Moreover, these Employees provide a

vital service to the community in the form of needed medical services. Meeting the pre-petition

payroll, payroll-related expenses, and other compensation obligations will help to assure the



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continued services of the Debtor’s employees while also maintaining and preserving the value of

the Debtor’s operations and assets for the benefit of its estate, the health and safety of patients, and

the benefit of the Springfield community. See, e.g., In re Ionosphere Clubs, Inc., 98 B.R. 174, 175

(S.D.N.Y. 1989) (affirming order authorizing payment of pre-petition wages under § 363(b) of the

Bankruptcy Code); In re Boston & Maine Corp., 634 F.2d 1359, 1382 (1st Cir. 1980) (recognizing

the existing of authority to authorize trustees in reorganization cases to pay claims where payment

is necessary for reorganization); In re Payless Cashless, Inc., 268 B.R. 542, 546 (Bankr. W.D. Mo.

2001) (noting that several courts have permitted debtors-in-possession to pay pre-petition debts on

the grounds that payment of such claims was needed for reorganization).

          Waiver Of Notice Requirements And Stay Under Bankruptcy Rule 6004

        65.     To the extent that the relief requested in this Motion constitutes a use of property

of the Debtor’s estate under § 363(b) of the Bankruptcy Code, then Springfield requests that a

waiver of the fourteen (14) day stay under Rule 6004(h) of the Federal Rules of Bankruptcy

Procedure and the notice requirements of Rule 6004(a).

        66.     Further, to the extent applicable, the Debtor requests that the Court find that the

provisions of Rule 6003 of the Federal Rules of Bankruptcy Procedure are satisfied because the

relief requested in this Motion is immediately necessary for the Debtor to be able to continue to

operate its business and preserve the value of its estate for the purpose of reorganization. The

Debtor submits that this is a sufficient basis for the Court to find that there would be immediate

and irreparable harm from waiting until twenty-one (21) days after the Petition Date before

honoring payroll and related obligations.




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                                      Reservation Of Rights

       67.     Nothing in this Motion is intended to be or should be construed as an admission as

to the validity of any claim against the Debtor, a waiver of the Debtor’s rights to dispute any claim,

or an approval of any agreement, contract, or lease under § 365 of the Bankruptcy Code.

                                        Notice and Service

       68.     Notice of this Motion and all related papers were served on the following parties

on the date and manner set forth in the certificate of service related to this Motion: (a) the United

States Trustee; (b) the Debtor’s secured creditors or, if applicable, to counsel representing them;

(c) the non-insider holders of the 20 largest unsecured claims against the Debtor or, if applicable,

to counsel representing such holders; (d) SMCS; (e) applicable federal and state taxing authorities;

and (f) to the extent not included in the foregoing, applicable state and federal regulatory agencies.

                                            Conclusion

       The Debtor requests that the Court enter an order in the form filed with this Motion and

grant such further and additional relief as the Court deems appropriate.



Date: June 26, 2019                            /s/ Andrew C. Helman
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